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ERTY SUB-M zE ME

THIS AGREEMENT is made and entered into this day of June, 2018 by and
between DSM Group, Inc. (hereinafter referred to as the “Manager”) and Borror Properties
Management, LLC, (hereinafter referred to as “Borror”’) and ORO Oro Karric North, LLC
(“Owner”).

RECITALS:

WHEREAS, Owner has contracted to purchase that certain real property located at 3970
Brelsford, Lane, Dublin, Ohio 43016 (hereinafter the “Property” or “Project”). In connection
therewith, upon closing with will retain Manager as its property manager under a separate Property
Management Agreement (“Prime Management Agreement”).

WHEREAS, Manager desires to retain Borror on an exclusive basis on the terms and
conditions herein during the term of this Agreement, and Borror desires to accept such
responsibilities and duties set forth herein.

NOW, THEREFORE, in consideration of the mutual covenants herein contained, the
Manager and Borror agree as follows:

SECTION 1
APPOINTMENT OF MANAGING AGENT

1.1 APPOINTMENT AND ACCEPTANCE: Manager hereby engages Borror as its
sole and exclusive property manager to lease and manage the Property described in Section 1.2
upon the terms and conditions provided herein. Borror accepts the engagement and agrees to
furnish the services of its organization in accordance with the terms and provisions contained
herein.

1.2 Intentionally Deleted.

1.3 TERM: The initial term of this Agreement shall be for a period of approximately
five (5) years (the “Initial Term”) commencing on the closing of the purchase of the Property to
the day of June, 2023. This Agreement shall be automatically renewed for successive
periods of one (1) year, unless this Agreement is terminated as provided in Section 18 herein.

14 MANAGEMENT OFFICE: Manager shall provide adequate space on the Project
for a management office, exclusively for the use of Borror to conduct the business of the
management of the Project. Manager shall pay all reasonable expenses related to such office as
provided in the Plan (defined below), including, but not limited to, furnishings, equipment,
postage, office supplies, electricity, other utilities, and telephone services.

1.5 APARTMENT FOR ON-SITE STAFF: Manager shall provide suitable apartment
unit(s) within the Project for the use of the resident manager and such assistant managers or
maintenance personnel as Borror and Manager may deem reasonable under the circumstances and

 
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as provided in the Plan. Borror, with the approval of Manager, shall be entitled to provide such on-
site staff (employees) with such rental concessions (reductions in rent) as Borror and the Manager
may deem necessary and appropriate under the circumstances.

1.6 | BUDGET AND BUSINESS PLAN: Manager and Borror will establish an annual
budget and business plan for operation and management of the Project (the “Plan”). The Plan shall
act as a general guide for the management of the Project by Borror and shall be updated and revised
one time per year as mutually agreed to by Manager and Borror to reflect changes in conditions
and actual Project operation. Any significant expenditure not specifically set forth in the Plan shall
require Manager’s written advance approval, except as provided in Section 4.2 hereof. Manager
agrees that the Plan is a budgeting tool only and does not constitute a guarantee of actual operating
performance. The Plan shall include, at a minimum, the following:

A. Revenue Threshold: The Plan shall contain a minimum adjusted cashflow
threshold for each fiscal period (as established by the Plan) (the “Revenue
Threshold”) to be achieved by Borror during the Term of this Agreement.

B. Minimum Leasing Guidelines: Guidelines established jointly by Manager and
Borror, setting forth target rental rates and premiums for each unit type and amenity
package, together with maximum leasing incentive allowances for promotional
purposes. If Borror executes any lease (or any renewal or extension thereof) on
terms which vary from the minimum leasing guidelines, Borror will obtain
Manager’s prior written approval.

 

C. Capital Improvement Plan: Manager and Borror have set forth a plan for
implementing initial capital improvements to upgrade the rental units and correct
maintenance items addressed during Manager and Borror’s pre-acquisition
inspection of the Property (if applicable). Should the capital plan fall within
industry standards for normal property management duties, Borror shall be
responsible for obtaining bids, coordinating and scheduling the work at the
Property. A minimum of three (3) bids will be obtained for each Improvement Plan
item of more than $25,000.

SECTION 2
BANK ACCOUNTS

2.1 BANK ACCOUNTS: Other than a petty cash account agreed upon by the parties,
Borror shall not have any bank accounts on behalf of Manager. All security deposits/rents/monies
regarding the Property shall be forwarded to Manager and shall be maintained by Manager in
Manager’s bank account. Manager shall hold these funds separate from other corporate funds
and in the name of Owner. Manager is responsible to handle all monies of the Property. Manager
is responsible to pay all bills/invoices of the Property. If Manager fails to pay bills/invoices of
the Property, then Borror shall be excused from performing the services or any other duties under
this Agreement to the extent of such failure.

2.2 INITIAL DEPOSIT TO TRUST ACCOUNTS: Immediately upon commencement
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of this Agreement, Manager shall fully fund all required tenant security deposit trust account.
Manager shall hold these funds separate from other corporate funds and in the name of Owner
for aforementioned use. If state law allows, and Manager elects to not fully fund tenant trust
accounts, Owner and/or Manager agrees to indemnify and hold Borror harmless from any claims
that may result from such an election and agrees to sign a security deposit waiver addendum, if
required by state law.

2.3. _BORROR’S OBLIGATION TO ADVANCE PAYMENTS: All purchases and
other obligations incurred in connection with the operation of the Project shall be the sole cost
and expense of Owner and/or Manager. All such purchases shall be made by Borror solely on
behalf of Owner or Manager and not as a principal. Borror shall be under no duty to utilize or
apply Borror’s own funds for the payment of any such debt or obligation. Borror shall not be
obligated to make any advance to or for the operating account, nor shall Borror be obligated to
incur any liability or obligation for the account of Owner without assurance that necessary funds
for the discharge thereof have been provided.

SECTION 3
COLLECTION OF RENTS AND OTHER RECEIPTS

3.1 AUTHORITY OF BORROR: Borror shall collect (and give receipts for, if
necessary) all rents, charges and other amounts received in connection with the management and
operation of the Project. All security deposits (excluding non-reimbursable cleaning fees and the
like) shall be forwarded to Manager. All other receipts shall be deposited into the operating
account. Under no circumstances shall Borror be liable to Manager for any uncollected rents,
other income or bad debt resulting from operations.

3.2 SPECIAL CHARGES: Borror shall deposit into the operating account charges paid
by tenants for the late payment of rent, returned or non-negotiable checks, and other similar
payments.

SECTION 4
DISBURSEMENT FROM OPERATING ACCOUNTS

4.1 OPERATING EXPENSES: Owner and/or Manager have sole responsibility for the
timely payment of all authorized expenses of the Project. Borror shall not be responsible for the
payment of late fees or penalties. Manager shall reimburse Borror for those fees set forth on
Exhibit A to this Agreement and compensate Borror in accordance with Section 15 hereof.

4.2 EXTRAORDINARY EXPENSES: Unless specifically provided for in the Plan, no
single expenditure made for general maintenance or one-time contract service in excess of
$10,000.00 shall be allowable without prior approval of Manager. Manager may request written
bids for any expenditure over $15,000.00. Borror is required to submit a minimum of three (3)
written bids for all expenditures over $15,000. However, in the event of an emergency, owner
authorizes Borror to authorize any reasonable expenditure which is necessary or required because
of danger to life or property, or which is immediately necessary for the preservation and safety
of the Project or the safety of the tenants and occupants thereof, or if required to avoid the

 
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suspension of any necessary service to the Project, or to comply with any applicable federal, state,
or local laws, regulations, or ordinances. Borror shall, however, as soon as reasonably possible,
notify Manager in detail, concerning such expenditures.

4.3. AUTHORITY OF OWNER FOR BORROR TO PAY CERTAIN EXPENSES:
Manager shall pay in accordance with the business plan, all utility and maintenance charges; all
real property taxes and assessments; all premiums for liability and casualty insurance; all monthly
payments upon underlying secured real property debt; Borror’s fees; all other operating and rental
expenses set forth herein; postage, copying, long distance charges and other expenses that are
directly associated with the property (whether incurred on-site or otherwise); the costs and
expense of uniforms for employees (where applicable) and the costs and expenses directly
associated with the training of Project employees and reasonable expenses for employee retention
events.

4.4 FEES FOR LEGAL ADVICE: Manager shall pay reasonable expenses incurred by
Borror in obtaining legal advice regarding compliance with any law affecting the Project,
including the defense of vendor suits or other claims made against the Project or Borror relating
to its activities as Agent for Manager, or activities related to the operation of the Project. Borror
shall notify the Manager if legal services are anticipated to exceed the amounts set forth in the
Plan. If any expenditure for legal services also benefits others for whom Borror acts as a property
manager, Manager’s obligation shall be limited to Manager’s pro rata portion of such expense for
legal services. Provided, however, that nothing contained in this section shall obligate Manager
to pay Borror’s legal fees in the event Borror is adjudged to have engaged in fraud or misconduct
relating to the allegations of the dispute. Notwithstanding anything contained herein to the
contrary, Borror shall not be liable for any action that Borror takes in good faith in reliance on
the reasonable advice from legal counsel.

 

4.5 PRIORITY OF PAYMENT: Should collected funds (excluding security deposits
deposited into trust accounts) be insufficient to satisfy the current debts and obligations of the
Project, such debts and obligations shall be paid in the following order: Project payroll, including
all related administrative charges and expenses; management fees and related expenses due Borror;
charges by utility companies (including, but not limited to, gas electric, water, sewer, garbage and
cable television); other Project expenses; underlying secured real property debt; other required
payments, including payments to reserve accounts. Where the terms of any loan security
agreement with Owner conflict with the terms of this section, the terms of such loan security
agreement shall control, provided, the Owner has notified Agent of the existence of any such
condition.

 

SECTION 5
FINANCIAL AND OTHER REPORTS

5.1 REPORTS: Borror shall, on a mutually acceptable schedule and at Manager’s
request, prepare and submit to Manager such reports as Manager shall specify, including, but not

limited to the following:

a.) Weekly occupancy, leasing status and traffic reports.
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b.) Monthly market comparable rent survey.

SECTION 6
ADVERTISING

6.1 ADVERTISING: Borror is authorized to advertise the Project and vacant units
within the Project for rent and employment, using periodicals, signs, plans, brochures or displays,
or such other means as Borror may deem proper and advisable. Borror is authorized to place signs
on the Project advertising that units are available for rent, provided such signs comply with
applicable laws. The cost of such advertising as approved by Manager, shall be paid by Manager.
All advertising shall make clear that Borror is the manager and is not the Owner of the Project.
Borror shall have the right to publish advertisements that share space with other properties
managed by Borror. Provided, that the costs of such advertising shall be prorated among the
various projects.

SECTION 7
LEASING AND RENTING

7.1 BORROR’S AUTHORITY TO LEASE PROJECT: Borror shall use its best efforts
to keep the Project rented by procuring tenants for the Project. Borror is authorized to negotiate,
prepare and execute all rental agreements, including all renewals and extensions of rental
agreements on such forms as have been approved in writing by Manager, and to cancel and modify
existing rental agreements subject to the Plan. Borror shall execute all rental agreements as agent
for the Manager. All costs of leasing shall be paid out of the operating account, in accordance with
the leasing budget or as approved by Manager. No rental agreement shall be for a period in excess
of one (1) year without the approval of Manager. The form of the rental agreement shall be agreed
upon by Manager and Borror and be acceptable to the lender for the Project.

7.2 | NO OTHER RENTAL AGENT: During the term of this Agreement, Manager shall
not authorize any other person, firm or corporation to negotiate or act as leasing or rental agent
with respect to any leases for commercial or residential space in the Project. Manager agrees to
promptly forward all inquiries about leases or rental agreements to Borror.

7.3 RENTAL RATES: In accordance with the provisions of the Plan or as otherwise
directed by Manager, Borror may establish and set or revise all rents, fees or other deposits, and
all other charges chargeable with respect to the Project. Borror shall be authorized to promote the
occupancy of the Project by granting rental concessions and other promotional bonuses to
prospective and current tenants, after first consulting with Manager as to the nature, quantity and
duration of such rental concessions and promotional bonuses and obtaining written consent.

7.4 ENFORCEMENT OF RENTAL AGREEMENTS: Borror is authorized to institute
and defend, in Owner’s and Manager’s name(s) or in the name of Borror, all legal actions or
proceedings for the enforcement of any rental term, for the collection of rent or other income due
to the Project, or for the eviction or dispossession of tenants or other persons from the Project and
matters relating thereto. Borror is authorized to sign and serve such notices as Borror and Manager
deem necessary for the enforcement of rental agreements, including the collection of rent and other
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income. Borror may settle, compromise and release such legal actions or suits or to reinstate such
tenancies without the prior consent of Manager, if such settlement, compromise, or release shall
involve an amount in controversy of Two Thousand Dollars ($2,000), or less. Where the amount
in controversy is in excess of Two Thousand Dollars ($2,000), Borror shall first obtain the written
authorization of Manager before entering into any compromise, settlement, or release of such legal
action. Any moneys for such settlements paid out by Borror shall be an operating expense of the
Project. Reasonable attorney’s fees, filing fees, court costs and other necessary expenditures
incurred in the connection with such action shall be paid out of the Project operating account or
shall be reimbursed directly to Borror by Manager. All funds recovered by tenants shall be
delivered to Manager. Unless otherwise directed by Manager, Borror may select the attorney or
attorneys to handle any and all such litigation. Absent a finding of gross negligence or misconduct
by Borror employees, Owner and/or Manager shall be responsible for all claims, damages and
legal expenses relating to the lease or other housing statutes, whether brought against the Owner,
Manager or Borror as the agent of Manager.

SECTION 8
PROJECT EMPLOYEES

 

8.1 BORROR’S AUTHORITY TO HIRE: Borror, and not Owner or Manager, is
responsible for hiring, supervising, discharging and paying all servants, employees, contractors or
other personnel necessary to be employed in the management, maintenance and operation of the
Project so long as all payroll and related expenditures for such personnel are within the Plan
guidelines. All employees performing services directly for the Project (excluding off-site property
manager) shall be deemed to be employees of Borror and the Project. Borror is an equal
opportunity employer.

8.2 MANAGER TO REIMBURSE EMPLOYEE EXPENSES: All wages, fringe
benefits, and all other forms of compensation payable to, or for the benefit of, employees of the
Project (but not to property managers not employed directly by the Project) and all local, state and
federal taxes and assessments (including, but not limited to, payments to and administration of
fringe benefits, employee benefits insurance program, Worker’s Compensation, Social Security
taxes and Unemployment Insurance) incident to the employment of all such personnel and their
direct training, shall be treated as an operating expense of the Project and shall be paid by Borror
from Manager’s funds, from the Project operating account subject to the Plan. In addition, Borror
shall accrue for all vacation pay due site employees and provide a quarterly reconciliation to
Manager of all such payments. Such payments shall also include all awards of back pay and
overtime compensation that may be awarded to any project employee in any legal proceeding, or
in settlement of any action or claim that has been asserted by any such employee. Manager shall
pre-pay Project payroll thirty days in advance and authorizes Borror to maintain a credit for thirty
days of estimated Project payroll and one months of estimated management fees for the term of
this Agreement.

8.3 BORROR’S AUTHORITY TO FILE RETURNS: Borror shall do and perform all
acts required of an employer with respect to the Project and shall execute and file all tax and other
returns required under the applicable federal, state and local laws, regulations and/or ordinances
governing employment, and all other statements and reports pertaining to labor employed in
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connection with the Project and under any similar federal or state law now or hereafter in force.
The costs for any preparing such filings shall be a Project expense. In connection with such filings,
Manager shall, upon request, promptly execute and deliver to Borror all necessary powers of
attorney, notices of appointment and the like. Manager shall be responsible for all amounts
required to be paid under the foregoing laws, and Borror shall pay the same from the operating
account.

8.4 WORKER’S COMPENSATION INSURANCE/TAXES: Borror shall, at
Manager’s expense, maintain and administer a Worker’s Compensation Insurance program
covering all liability of Borror and the Project under established worker’s compensation laws and
all other Federal and State labor laws, whether such laws provide that such insurance shall be
obtained from a third-party carrier or from a state fund and whether such payments shall be
denominated as insurance premiums or taxes. Borror’s employees are covered by a national
insurance program (except in selected states) for which Borror pays a single premium. Individual
properties are assessed their prorated portion of Borror’s total worker’s compensation premium
based on the number of employees at each Project. The total of the premium may be less than the
gross amount collected from all Borror properties.

8.5 LIMITATION ON BORROR’S LIABILITY. Borror may consult with legal
counsel, accountants and other consultants selected by it. Borror shall not be responsible for the
misconduct, negligence, acts, or omissions of any Consultant or independent contractor retained
by Borror with respect to the Project and shall assume no obligation concerning such consultants
or independent contractors other than to use due care in selecting them.

 

8.6 REIMBURSEMENTS FOR CLAIMS. Manager shall reimburse Borror for
payments made by Borror to any Project employee, where the Project employee claims, for
whatever reason, previously unpaid wages, including but not limited to, overtime compensation,
fringe benefits, and other forms of compensation, which are held to be payable to the Project
employee by any court, arbitrator or administrative agency having jurisdiction over the matter, or
by reason of any settlement made by Borror but excluding any penalties if Manager has paid the
original invoice for such labor. This reimbursement shall not be applicable where such claims are
caused by the gross negligence or willful misconduct of Borror.

SECTION 9
OPERATIONS, MAINTENANCE AND REPAIR

 

9.1 PERFORMANCE OF REPAIRS: Borror is authorized to make or cause to be made,
through Project employees, Borror’s employees, or through contracted services, all ordinary
repairs and replacements reasonably necessary to preserve the Project in its present condition and
for the operating efficiency of the Project, and all alterations required to comply with rental
agreement requirements, government regulations or insurance requirements. In accordance with
the Plan or as otherwise directed by Manager, Borror is also authorized to decorate the Project and
the individual apartment units and to purchase or rent, on Manager’s behalf, all equipment, tools,
appliances, materials, supplies, uniforms and other items necessary for the management,
maintenance or operation of the Project. Such maintenance and decorating expenses shall be paid
by Manager. Borror has national contracts with certain vendors to provide goods and services to

 
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projects such as the one covered by this Agreement. Borror selects these national vendors in order
to receive volume-pricing discounts for the benefit of the Manager. If Manager selects a vendor
for use on the Project, Manager shall indemnify and hold Borror harmless from any and all
damages that arise from the use of such vendor.

9.2 FEES FOR WORK PERFORMED BY BORROR’S EMPLOYEES: With
Manager’s prior approval, Borror may cause repairs and replacement work to be performed by
employees for Borror who are not otherwise direct employees of the Project. Manager shall pay to
Borror a reasonable fee for such services based upon the then current hourly charges made and
assessed by Borror for the performance of such services. Such charges shall be approximately
equal to Borror’s direct and indirect expenses associated with the employment of such person.
Such charges shall be reasonable and shall not be more than charges made by qualified independent
contractors performing similar work, under similar circumstances, in the same geographical area
as the Project.

9.3 CONTRACTS, UTILITIES AND SERVICES: Borror is authorized to negotiate
contracts for non-recurring items of expense, not to exceed $5,000.00. Borror shall enter into
agreements for all necessary repairs, maintenance, minor alterations, and utility services, and make
contracts on Manager’s behalf for electricity, gas, telephone, fuel, water and such other services
required for the operation of the Project, in accordance with the Plan. All utility deposits shall be
the Manager’s responsibility, except that Borror may pay the same from the operating accounts if
directed to do so.

94 LIMITATIONS ON CONTRACTS: Each such contract or agreement shall: (a) be
in the name of the Project, (b) include a provision of cancellation thereof by Manager or Borror
upon not more than thirty (30) days written notice (if available), and (c) shall require that all
contractors provide evidence of sufficient insurance. If this agreement is terminated pursuant to
Section 18, Borror shall, at Manager’s option, assign to Manager or Manager’s ndminee all
contracts and agreements pertaining to the Project. Borror shall then notify Manager if any such
contracting entity is either a subsidiary, affiliate, or has any other relationship whatsoever to
Borror.

SECTION 10
RELATIONSHIP OF BORROR TO OWNER AND MANAGER

10.1. Borror is engaged independently in the business of property management and acts
hereunder as an independent contractor. Nothing contained in this Agreement shall be construed
as creating a partnership, joint venture, or any other relationship between the parties to this
Agreement, or as requiring Borror to bear any portion of losses arising out of or connected with
the ship or operation of the Project. Borror does not warrant the financial performance of the
Project. Borror shall not, at any time during the term of this Agreement, be considered to be a
direct or indirect employee of Manager. Manager agrees to assume all financial risks of operating
the project including any claims made against Borror while acting as Manager’s Agent within the
scope of its authority as provided herein. Manager agrees to hold Borror harmless for any and all
claims arising prior to Borror’s management of the Project. Except as provided herein, neither
party shall have the power to bind or obligate the other party. Except as specifically set forth in
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this Agreement, Borror shall not act as the agent of Manager; and, except as provided in this
Agreement, Manager shall not act as the principal of Borror.

SECTION 11
INDEMNIFICATION

11.1. INDEMNIFICATION BY OWNER AND MANAGER. Owner and Manager
agrees to indemnify, defend, protect, and hold harmless Borror and its affiliates, agents and
employees, from (i) any action arising from the Project, (ii) any loss, cost, liability, or expense
(including without limitation reasonable attorneys’ fees) incurred in defense of any claim, action
or proceeding arising out of or in connection with this Agreement, (iii) Borror's performance of its
obligations hereunder, or otherwise in conjunction with the Project; or (iv) any errors or prior
actions taken by Owner and/or Manager and Owner and/or Manager’s agents with respect to any
tenant security deposits that may have been collected by Owner and/or Manager or Owner and/or
Manager’s agents prior to the effective date of this Agreement. Borror shall promptly notify Owner
and/or Manager in writing of any such claim, action or proceeding which may give rise to liability
under this section and shall cooperate fully in connection with Owner and/or Manager's defense,
negotiation or settlement thereof. Notwithstanding the foregoing, Owner and Manager shall not be
required to indemnify, defend or hold Borror harmless against any loss, cost, liability or expense
to the extent it arises as a result of the gross negligence or willful misconduct on the part of Borror,
its affiliates, agents or employees.

11.2 INDEMNIFICATION BY BORROR. Borror agrees to indemnify, defend, protect
and hold harmless Owner or Manager, its agents and employees from any loss, cost, liability or
expense (including without limitation reasonable attorneys’ fees) incurred in defense of any claim,
action, or proceeding maintained against Owner and/or Manager (i) due to and to the extent of the
gross negligence or willful misconduct on the part of Borror, its affiliates, agents and employees
or (ii) arising out of the alleged or actual violation by Borror of labor, employment or
discrimination laws; provided, however, this indemnity shall not be applicable if Owner and/or
Manager has not furnished Borror with sufficient funds to perform Borror’s obligations under this
Agreement. Notwithstanding the foregoing, Borror shall not be required to indemnify, defend or
hold Owner and/or Manager harmless against any loss, cost, liability or expense that to the extent
it arises as a result of Owner and/or Manager’s breach or default under the agreement or any act,
including negligence, on the part of Owner and/or Manager, its agents or employees.

11.3. WAIVER OF CLAIMS: Owner and Manager hereby waive any and all claims
against Borror, including Borror’s employees, agents, general partners and affiliates, for damage
or injury to any property in, upon, or about the Project, including but not limited to, the premises
of the Project, whether caused by peril, accident, theft or from any other cause whatsoever, other
than to the extent caused by the gross negligence or willful misconduct of Borror, its agents and
employees.

11.4 HAZARDOUS MATERIAL: Owner and/or Manager represents that it has no
knowledge of Hazardous Material or conditions at the Project except as Owner and/or Manager
has informed Borror in writing and attached to this Agreement. Owner and Manager shall defend,
indemnify and hold harmless Borror from and against any and all losses, liabilities, damages,

 
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injuries, costs, expenses and claims of any and every kind whatsoever (including, without
limitation, court costs and reasonable attorneys’ fees) which at any time or from time to time may
be paid, incurred or suffered by, or asserted against, Borror for, with respect to, or as a direct or
indirect result of, the presence on or under, or the escape, seepage, leakage, spillage, discharge,
emission or release from, the Project into or upon any land, the atmosphere, or any water course,
body of water or wetland of any Hazardous Material which exists on, under or at the Project at any
time during the term of this Agreement, and from time to time (including, without limitation, any
losses, liabilities, damages, injuries, costs, expenses or claims asserted or arising under the
Statutes). For purposes of this Agreement, “Hazardous Material” means and includes any
hazardous substance or any pollutant or contaminate defined as such in (or for purposes of) the
Comprehensive Environmental; Response, Compensation and Liability Act, any so-called
“Superfund” or “Superlien” law, the Toxic Substances Control Act, or any other federal, state or
local statute, law, ordinance, code, rule, regulations, order or decree regulating, relating to or
imposing liability or standards of conduct concerning any hazardous, toxic or dangerous waste,
substance or material, as now or at any time hereafter in effect, or any other hazardous, toxic or
dangerous waste, substance or material.

11.4 SCOPE OF INDEMNITY: Any party’s duty to indemnify any other party, as
provided for in Section 11 hereof, shall include the obligation to defend the indemnified party in
any such action. All costs and expenses of such defense shall be borne by the indemnitor. In the
event the indemnitee deems it necessary or expedient to procure legal representation in such
proceeding in order to protect the indemnitee’s rights therein, all costs and expenses of such
defense (including but not limited to reasonable attorney’s fees) shall be borne by the indemnitor
but only if the indemnitor fails to provide reasonable legal representation. The indemnitor waives
for itself and for its insurance carriers any rights of subrogation which the indemnitor’s insurance
carriers may have against the indemnitees.

 

11.5 BONDING: Borror shall cause all personnel who handle or are responsible for the
safe keeping of money or other property of Owner and/or Manager to be covered by a fidelity
bond, crime or applicable insurance in the minimum amount of Two Hundred Thousand Dollars
($200,000.00) with a company determined by Borror.

11.6 TERM OF INDEMNIFICATION: The indemnification made by any party to this
Agreement, for and on behalf of any other party to this Agreement, for and on behalf of any other
party to this Agreement, shall survive the termination of this Agreement.

 

SECTION 12
INSURANCE

12.1 INSURANCE BY MANAGER:

A. Property Insurance: At all times during the term of this Agreement, and at
its sole cost and expense, Manager shall or shall cause the Owner to obtain and
keep in force for the benefit of Owner and Manager and Borror, property insurance
on an “all-risk basis” (open perils), including but not limited to, full coverage for
boiler machinery and pressure vessel insurance, vandalism and malicious mischief.
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The amount of such insurance shall be 100% of the actual replacement cost of the
building and improvements, including the costs of demolition and debris removal,
all as reasonably determined by agreement of the Manager and Borror. In obtaining
any policies of insurance required hereunder, Manager (or Owner, as the case may
be) shall require all insurers to waive any rights of subrogation against Borror.

B. General Liability Insurance: At all times during the term of this Agreement,
and at its sole cost and expense, Manager shall or shall cause Owner to obtain and
keep in force for the benefit of Owner, Manager and Borror Commercial General
Liability Insurance through one or more primary and/or umbrella liability policies
against claims for bodily injury, property damage, advertising injury and personal
injury, and such policies shall provide contractual liability coverage as well. The
policies shall be written on an occurrence basis with limits of not less than
$1,000,000 per occurrence and

$2,000,000 in the aggregate and a $3,000,000 umbrella annually for the term of the
Agreement.

C. Automobile Liability Insurance: At all times during the term of this
Agreement, and at its sole cost and expenses, Manager shall or shall cause Owner
to obtain and keep in force for the benefit of Manager and Borror Business
Automobile Liability Insurance covering all vehicles used in connection with this
Agreement, to insure owned non-owned and hired automobiles, trucks and other
vehicles. The policy limits shall not be less than $1,000,000 combined single limit
and a $3,000,000 umbrella.

 

Dz. Additional Insured and Primacy of Owner’s and/or Manager’s Insurance:
Borror shall be named as an additional insured on all of the above policies for all
purposes connected to this Agreement. It is the intent of the parties that the
Manager’s insurance be primary to any, if any, insurance procured by Borror. Said
insurance purchased by Borror shall not contribute in any way. Manager will
secure endorsements to this effect from all insurers of such policies.

E, General Provisions: All insurance shall be written with insurance
companies with an A.M. Best’s rating of a A: VIII or higher. All liability and auto
insurance shall contain a severability of interest clause. All insurance shall provide
that notice of default or cancellation shall be sent to Borror as well as Manager and
shall require a minimum of thirty (30) days written notice to Borror prior to any
cancellation of or changes to said policies. Manager agrees to provide Borror with
certificates evidencing such insurance, including the additional insured
endorsement, or with duplicate copies of such policies, including all endorsements,
within ten (10) days of the execution of this Agreement. If Manager fails to do so,
Borror may, but shall not be obligated to, place said insurance and charge the cost
thereof to the operating account.
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12.2.©BORROR’S LIABILITY INSURANCE: Borror at its expense, shall, during the
Initial Term and any extended term, maintain and keep in force, the following insurance in the
following minimum amounts:

Commercial general liability insurance policy written on an occurrence form basis with
limits of $1,000,000 per occurrence and a $2,000,000 aggregate. Such insurance shall
include Manager as an additional insured; provided however, such insurance shall be
secondary and in excess of Manager’s liability insurance required to be maintained by
Manager under this Agreement and non-contributory with Manager’s policy;

Employer’s Liability coverage in jurisdictions where employer’s liability insurance is
required, with limits of liability of $500,000 or such other higher limits imposed in
accordance with the requirement of the Laws of the jurisdictions where the Property is
located:

Errors and omissions coverage with a per claim limit of liability of not less than
$1,000,000;

Upon request, Borror shall furnish, or cause to be furnished to Manager, certificates of
insurance evidencing the foregoing insurance. To the extent permitted by the insurer,
Borror’s errors and omissions and commercial general liability policies shall not be
cancelled without at least thirty (30) days’ prior written notice to Manager.

SECTION 13
BORROR ASSUMES NO LIABILITY

 

13.1. Borror assumes no liability whatsoever for any acts or omissions of Owner or
Manager or any previous owners of the Project, or any previous property managers or other agents
of either Owner, Manager or Borror. Borror assumes no liability for any failure of or default by
any tenant in the payment of any rent or other charges due Owner or in the performance of any
obligations owed by any tenant to Owner pursuant to any rental agreement or otherwise unless
solely caused by willful misconduct of Borror. Nor does Borror assume any liability for previously
unknown violations of environmental or other regulations which may become known during the
period this Agreement is in effect. Any environmental violations or hazards discovered by Borror
shall be brought to the attention of Owner in writing and Owner shall be solely responsible for
such violations, hazards or claims arising from such conditions. Further, Borror assumes no
liability for the financial performance of the Project. Owner shall be solely liable for all vendor
claims and tenant claims, whether made against the Owner, Manager or Borror, for all acts or
omissions of Borror within the scope of its agency; provided however, that Borror shall remain
liable for the gross negligence or willful misconduct of its employees.

SECTION 14
ASSIGNMENT OF RIGHTS AND OBLIGATIONS

 

14.1 ASSIGNMENT: Borror may, from time to time, assign its rights and obligations
under the terms and provision of this Agreement to a subsidiary of Borror, which shall be duly
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licensed and otherwise capable of performing the services of Borror under the terms and
provisions of this Agreement with the written consent of Manager.

SECTION 15
BORROR’S COMPENSATION AND EXPENSES

15.1 COMPENSATION: As compensation for the services provided by Borror under
this Agreement (and exclusive of reimbursement of expense to which Borror is entitled
hereunder), Manager shall pay Borror the following compensation:

15.2 FOR MANAGEMENT SERVICES: Two and one quarter percent (2.25%) of the
total monthly gross receipts from the Project until June 30, 2019, and following June 30, 2019,
two percent (2.00%) of the total monthly gross receipts from the Project. Such compensation shall
be payable by the first day of the next succeeding month for the monthly gross receipts for the
current month. Payments due Borror for periods of less than a calendar month shall be prorated
over the number of days for which compensation is due. Management Services is limited to those
specific services described in this Agreement. The term “gross receipts” shall be deemed to
include all rents and other income and charges from the normal operation of the Project, including,
but not limited to, rents, parking fees, net laundry income, forfeited security deposits, forfeited
pet deposits, other fees and forfeited deposits, and other miscellaneous income. Gross receipts
shall not be deemed to include income arising out of the sale of real property or the settlement of
fire or other casualty losses and items of a similar nature; however, any portion of an insurance
settlement that provides for loss of rents shall be considered part of gross receipts.

15.3. ACTS OF GOD: In the event of a casualty loss due to Acts of God and/or other
insurance claims such as, without limitation, hurricanes, tornadoes, earthquakes, fires or floods,
where the Project lender allows restoration of damage to the Project, if Manager engages Borror
to oversee such restoration work under a separate written agreement, Manager agrees to reimburse
Borror seven percent (7%) of the total cost of the reconstruction project for overseeing the project
to completion provided that said fee is reimbursed in its entirety under the provisions of
Manager’s insurance policy.

15.4 CONSTRUCTION MANAGEMENT SERVICES: Owner and Manager agree that
for any construction projects requiring multiple contractors and exceeding a cost of $25,000,
Owner and/or Manager shall contract with Borror Construction Company to serve in the capacity
of construction manager/general contractor over any such projects, pursuant to a construction
services contract in a form and upon such terms and conditions as mutually agreed by the parties.

 

15.5 FOR OTHER ITEMS OF MUTUAL AGREEMENT: Should Manager wish Borror
to perform services which are not otherwise governed by the terms and provisions of this
Agreement, the parties shall meet to discuss and to agree upon the additional compensation to be
paid by Manager to Borror for such additional services.

15.6 INTEREST ON UNPAID SUMS: Any sums due Borror under any provision of
this Agreement, and not paid within thirty (30) days after such sums have become due, shall bear
interest at the rate of the lesser of (a) twelve percent (12%) per annum or (b) the maximum rate
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permitted by law.

SECTION 16
STRUCTURAL CHANGES

16.1 Manager expressly withholds from Borror any power or authority to make any
structural changes in any building, or to make any other major alterations or additions in or to any
such building or to any equipment in any such building, or to incur any expense chargeable to
Manager other than expenses related to exercising the express powers vested in Borror through
this Agreement, without the prior written consent of Manager. However, such emergency repairs
as may be required because of danger to life or property, or which are immediately necessary for
the preservation and safety of the Project or the safety of the tenants and occupants thereof, or
required to avoid the suspension of any necessary service to the Project, or to comply with any
applicable federal state or local laws, regulations or ordinances, shall be authorized pursuant to
section 4.2 of this Agreement, and Borror shall notify Manager appropriately.

SECTION 17
BUILDING COMPLIANCE

17.1. Borror does not assume and is given no responsibility for compliance of the Project
or any building thereon or any equipment therein with the requirements of any building codes or
with any statute, ordinance, law or regulation of any governmental body or of any public authority
or official thereof having jurisdiction, except to notify Manager promptly or forward to Manager
promptly any complaints, warnings, notices or summons received by Borror relating to such
matters. Manager authorizes Borror to disclose the ownership of the Project(s) to any such officials
and agrees to indemnify and hold Borror its representative, servants, and employees harmless of
and from all loss, cost, expense and liability whatsoever which may be imposed by reason of any
present or future violation or alleged violation of such laws, ordinances, statutes or regulations.

SECTION 18
TERMINATION

18.1 TERMINATION BY OWNER/MANAGER FOR CAUSE: Owner or Manager
shall be entitled to terminate this Agreement as set forth in this Section 18.1 prior to the expiration
of Term upon the occurrence of the following which shall be deemed “For Cause” for purposes
of this Agreement:

A. Default: If Borror defaults in its obligations under this Agreement and such
default is not cured within either: (i) ten (10) days written notice by Owner or
Manager of any monetary default or (ii) thirty (30) days written notice by Owner
or Manager of any non-monetary default; provided, however, that if a non-
monetary default is curable and not reasonably subject to cure within the 30-day
period, Borror shall have such additional time as may be reasonably required to
complete such cure (not to exceed 120 days in the aggregate); provided that Borror
commences the cure within the 30-day period and thereafter diligently and
continuously prosecutes such cure to completion.
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B.

C. Revenue Threshold: Upon thirty (30) days advance notice by Owner or
Manager in the event the Project does not achieve the Revenue Threshold set forth
in any annual Plan pursuant to Section 1.6 of this Agreement, and such failure
continues for two full (2) fiscal quarters following the date Owner or Manager
delivers written notice thereof to Borror.

D. Misconduct: Immediately upon written notice, if Borror or a principal of
Borror commits a felony or other criminal act involving fraud, misappropriation of
funds, dishonesty or acts of a similar nature (whether or not such felony or criminal
act involves the Project), or misapplies any funds derived from the Project,
including security deposits, insurance proceeds or condemnation awards, or
commits (by act or omission) any fraud, intentional misrepresentation, or breach of
fiduciary duty in connection with Borror’s obligations pursuant to this Agreement;

E. Insolvency: Immediately upon written notice, if Borror files, or there is filed
against Borror and not discharged within thirty (30) days, a petition in bankruptcy
or reorganization, or Manager makes an assignment for the benefit of creditors or
takes advantage of any insolvency law, or Manager dissolves or is liquidated. In
order to exercise such termination right, in which event this Agreement shall
terminate on the date set forth in the notice of termination of Owner or Manager.

F. Excessive Damage: Immediately upon written notice, upon the destruction
of or substantial damage to the Project by any cause, or the taking of all or a
substantial portion of the Project by eminent domain, in either case making it
impossible or impracticable to continue operation of the Project.

G. Sale of Project: In the event of the sale of the Project, this Agreement shall
terminate upon the giving of not less than thirty (30) days written notice by
Manager to Borror.

18.2 TERMINATION BY BORROR: Following thirty (30) days advance written
notice, Borror shall have the right to terminate this Agreement if Owner or Manager default in
their respective obligations under this Agreement and such default is not cured within either: (i)
ten (10) days written notice by Borror of any monetary default or (ii) thirty (30) days written
notice by Borror of any non-monetary default; provided, however, that if a non-monetary default
is curable and not reasonably subject to cure within the 30-day period, Owner or Manager shall
have such additional time as may be reasonably required to complete such cure (not to exceed
120 days in the aggregate); provided that Owner or Manager commences the cure within the 30-
day period and thereafter diligently and continuously prosecutes such cure to completion. In the
event this Agreement is terminated by Borror pursuant to this Section 18.2, Borror shall be
entitled to any and all accrued amounts then outstanding.

18.3 TERMINATION FOLLOWING INITIAL TERM: Any party may terminate this
Agreement upon or following the expiration of the Initial Term by providing no less than thirty
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(30) days prior written notice to the other parties.

18.4 OWNER AND/OR_ MANAGER RESPONSIBLE FOR PAYMENTS: Upon
termination of or withdrawal from this Agreement, Owner and/or Manager shall assume the
obligations of any contract or outstanding bill executed by Borror under this Agreement for and
on behalf of Owner and/or Manager, if such bill was incurred by Borror in accordance with the
Plan or as otherwise approved in writing by Manager. In addition, Owner and/or Manager shall
indemnify Borror against any obligations or liabilities which Borror may have properly incurred
on Owner and/or Manager’s behalf under this Agreement.

18.5 ACCOUNTS: UNPAID BILLS: Borror shall deliver to Manager, within forty-five
(45) days (or sooner if required by law) after this Agreement is terminated, any balance of moneys
due Manager a final accounting reflecting the balance of income and expenses with respect to the
Project, as of the date of termination or withdrawal, and all records, contracts, leases, receipts for
deposits, and other papers or documents which pertain to the Project. Bills previously incurred
but not yet invoiced shall be the responsibility of and sent directly to Manager.

18.6 FINAL ACCOUNTING: Since all records, contracts, leases, rental agreements,
unpaid bills, and other papers and documents which pertain to the Project are deemed to be the
property of the Manager, they are to be delivered to Manager, upon the effective date of such
termination, after payment of all payroll and fees due Borror. Borror may retain temporary
possession of such records as may be necessary in order to comply with the provisions of Section
18.5 and/or state law.

 

SECTION 19
REPRESENTATIONS

19.1 MANAGER’S REPRESENTATIONS AND WARRANTIES: Manager
represents to its actual knowledge without inquiry or investigation and warrants as follows: (a)
Manager has the full power and authority to enter into this Agreement, and the person executing
this Agreement is authorized to do so; (b) there are no written or oral agreements affecting the
Project other than the tenant leases or rental agreements, copies of which have been furnished to
Borror; (c) all permits for the operation of the Project has been secured and are current; and (d)
Manager is not aware of any violation, without research or investigation, of any building or
construction statute, ordinance, or regulation, whether federal, state or local, that will affect the
operation of the Project; (e) if Manager requests Borror to enter any agreements for the benefit of
third parties (i.e. subordination agreement) Manager hereby agrees to fully indemnify Borror for
all claims arising from such Agreements.

 

19.2 BORROR’S REPRESENTATIONS AND WARRANTIES: Borror represents and
warrants as follows:

(a) the officers of Borror have the full power and authority to enter into this
Agreement; (b) there are not written or oral agreements by Borror that will be
breached by, or agreements in conflict with, Borror’s performance under this
Agreement; and (c) where necessary, Borror will be duly licensed and able to
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perform all of the duties under this Agreement at the effective date of this
Agreement and shall comply with and abide by all laws, rules, regulations, and
ordinances pertaining thereto.

SECTION 20
HEADINGS

All headings and subheadings employed within this Agreement are inserted only for
convenience and ease of reference and are not to be considered in the construction or interpretation
of any provision of this Agreement.

SECTION 21
FORCE MAJEURE

Any delays in the performance of any obligation of Borror under this Agreement shall be
excused to the extent that such delays are caused by wars, national emergencies, natural disasters,
strikes, labor disputes, utility failures, governmental regulations, riots, adverse weather, and other
similar causes not within the control of Borror, and any time periods required for performance
shall be extended accordingly.

SECTION 22
COMPLETE AGREEMENT

 

This Agreement, including any specified attachments, constitutes the entire agreement
between Manager and Borror with respect to the management and operation of the Project and
supersedes and replaces any and all previous management agreements entered into and/or
negotiated between Manager and Borror relating to the Project covered by this Agreement. No
change to this Agreement shall be valid unless made by supplemental written agreement executed
and approved by Manager and Borror. Except as otherwise provided herein, any and all
amendments, additions or deletions to this Agreement shall be null and void unless approved by
Manager and Borror in writing. Each party to this Agreement hereby acknowledges and agrees
that the other party has made no warranties, representations, covenants or agreements, express or
implied, to such party, other than those expressly set forth herein, and that each party, entering into
and executing this Agreement has relied upon no warranties, representations, covenants or
agreements, express or implied, to such party, other than those expressly set forth herein, or as set
forth in an exhibit or appendix to this Agreement.

SECTION 23
RIGHTS CUMULATIVE: NO WAIVER

 

No right or remedy herein conferred upon or reserved to either of the parties to this
Agreement is intended to be exclusive of any other right or remedy, and each and every right and
remedy shall be cumulative and in addition to any other right or remedy given under this
Agreement or now or hereafter legally existing upon the occurrence of an event of default under
this Agreement. The failure of either party to this Agreement to insist at any time upon the strict
observance or performance of any of the provisions of this Agreement, or to exercise any right or
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remedy as provided in this Agreement, shall not impair any such right or remedy or be construed
as a waiver or relinquishment of such right or remedy with respect to subsequent defaults. Every
right and remedy given by this Agreement to the parties to it may be exercised from time to time
and as often as may be deemed expedient by those parties.

SECTION 24
APPLICABLE LAW AND LITIGATION

24.1 INTERPRETATION: The execution, interpretation and performance of this
Agreement shall in all respects be controlled and governed by the laws of the State of the location
of the Project. If any part of this Agreement shall be declared invalid or unenforceable, Borror
shall have the option to terminate this Agreement by notice to Manager.

24.2 DISPUTE RESOLUTION. If either party shall notify the other that any matter is
to be determined by arbitration, the parties shall first try to resolve any dispute or controversy
arising out of this Agreement. If there is no resolution within thirty (30) days, then (a) within
fifteen (15) calendar days thereafter, each party shall appoint an arbitrator by notice to the other
party; (b) if either party shall fail to make such appointment within the prescribed time, then the
arbitrator appointed by the party not so failing shall appoint, on behalf of the party so failing, one
other arbitrator; (c) the arbitrators so appointed shall meet within ten (10) business days and shall,
if possible, determine such matter within thirty (30) days after the second arbitrator is appointed,
and their decision shall be binding and conclusive on the parties; (d) if the two arbitrators fail to
determine said within the 30-day period, they shall appoint a third arbitrator, and in the event of
their failure to agree upon such third arbitrator within ten (10) days after the time aforesaid, either
party may apply to any court of competent jurisdiction for the appointment of such third arbitrator,
and the other party shall not raise question as to the court’s power and jurisdiction; and (e) the
determination of any two of the three arbitrators shall be given within thirty (30) days (or as soon
as is possible) after the appointment of the third arbitrator and shall in all cases be binding and
conclusive upon the parties. Each arbitrator shall be sworn to determine fairly and impartially the
matter(s) submitted for arbitration. A replacement arbitrator shall be appointed in the same manner
as the arbitrator being replaced in cases of death, disqualification, incapacitation or failure/refusal
to act. Each party shall pay the fees and expenses of the arbitrator by or on behalf of such party
and one-half of the fees and expenses of the third arbitrator, if any. The arbitration shall be
conducted pursuant to the American Arbitration Association (“AAA”) then-existing rules and
regulations and shall be held within fifty (50) miles of the Project, unless otherwise agreed to by
the parties.

 

SECTION 25
NOTICES

25.1. Any notices, demands, consents and reports necessary or provided for under this
Agreement shall be in writing and shall be addressed as follows, or at such other address as
Manager and Borror individually may specify hereafter in writing:

BORROR: BORROR PROPERTIES MANAGEMENT, LLC
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600 Stonehenge Parkway, 2" Floor
Dublin, Ohio 43017

MANAGER: DSM Group, Inc.
11766 Wilshire Blvd., Suite 325
Los Angeles, California 90025

OWNER:

Such notice or other communication may be made by email with a receipt confirmation, mailed by
United States registered or certified mail, return receipt requested, postage prepaid, and may be
deposited in a United States Post Office or a depository for the receipt of mail regularly maintained
by the post office or via a national overnight carrier. Such notices, demands, consents and reports
may also be delivered by hand or by any other receipted method or means permitted by law. For
purposes of this Agreement, notices shall be deemed to have been “given” or “delivered” upon
personal delivery or receipt in the case of emails.

SECTION 26
SPECIAL PROVISIONS

 

26.1 Client agrees to the following provisions:

SECTION 27
CONFIDENTIALITY

27.1 Except to the extent necessary to carry out the obligations hereunder, each party
shall treat as confidential and shall not disclose any nonpublic information with respect to the
Property, without the prior written consent of the other party. Confidential information does not
include information which: (a) is or becomes generally available to the public other than as a result
of a disclosure by the receiving party in breach of this Agreement; (b) was available to the
receiving party on a non-confidential basis prior to its disclosure by the other party; (c) must be
disclosed pursuant to applicable law or regulation or in connection with the pursuit or defense of
a claim; (d) is independently developed by the receiving party without the use of confidential
information provided by the other party; (¢) was available to the receiving party on a non-
confidential basis prior to its disclosure by the other party; or (f) becomes available to the receiving
party on a non-confidential basis from a source other than the disclosing party, provided that such
source is not known to the receiving party to be bound by a confidentiality agreement with the
other party or (g) is disclosed at Manager’s request.

SECTION 28
AGREEMENT BINDING UPON SUCCESSORS AND ASSIGNS

28.1 This Agreement shall be binding upon the parties hereto and their respective
personal representatives, heirs, administrators, executors, successors and assigns.
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IN WITNESS WHEREOF, the parties hereto have affixed and caused to be affixed their
respective signatures as of the day and year first written above.

MANAGER:

By: DSM Group, Inc.

Bradley H Mindlin

Its: Authorized Agent

Borror Properties Management, LLC

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Danielle B. Sugarma ganma

Its: Vice President of Apartment Operations

OWNER:
By: ORO KARRIC NORTH, LLC, a Delaware limited liability company
By: ORO BRC4 LLC, a Delaware limited liability company, its Manager
By: ORO MANAGER III LLC, a Nevada limited liability company, its Manager
. jo
‘Bradley H. Mindlin

Its: Managing Member
